       Case 1:06-cr-00388-LJO Document 29 Filed 03/26/07 Page 1 of 2



 1   McGREGOR W. SCOTT
     United States Attorney
 2   DAWRENCE W. RICE, JR.
     Assistant U.S. Attorney
 3   Suite 4401, Federal Courthouse
     2500 Tulare Street
 4   Fresno, California 93721
     Telephone: (559) 497-4000
 5

 6

 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,      )         1:06-cr-00388 LJO
                                    )
12                  Plaintiff,      )         GOVERNMENT’S MOTION FOR
                                    )         DISMISSAL OF INDICTMENT, AND
13        v.                        )         ORDER THEREON.
                                    )
14   MIGUEL ANGEL ARAMBURO-SOLOMAN, )
                                    )
15                                  )
                    Defendant.      )
16                                  )

17

18         Pursuant to Rule 48(a) of the Federal Rules of Criminal

19   Procedure, the government moves to dismiss the Indictment against

20   defendant MIGUEL ANGEL ARAMBURO-SOLOMAN in the interest of

21   justice, because he is deceased.

22   DATED: March 22, 2007                    Respectfully submitted,

23                                            McGREGOR W. SCOTT
                                              United States Attorney
24
                                              By/s/Dawrence W. Rice, Jr.
25                                              DAWRENCE W. RICE, JR.
                                              Assistant U.S. Attorney
26   ///

27   ///

28   ///

                                          1
        Case 1:06-cr-00388-LJO Document 29 Filed 03/26/07 Page 2 of 2



 1                                      ORDER

 2            IT IS ORDERED that the Indictment in 1:06-cr-00388 OWW

 3   against only the above-named defendant, MIGUEL ANGEL ARAMBURO-

 4   SOLOMAN, be dismissed in the interest of justice.

 5   IT IS SO ORDERED.

 6   Dated:     March 22, 2007             /s/ Lawrence J. O'Neill
     b9ed48                            UNITED STATES DISTRICT JUDGE
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                           2
